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                               IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE EASTERN DISTRICT OF TEXAS
                                          SHERMAN DIVISION

IN RE:                                                              §
                                                                    §               CASE NO. 25-40712
DZS INC., et al.,1                                                  §
                                                                    §               (Chapter 7)
                                 DEBTORS.                           §

                             THIRD NOTICE OF
         ASSUMPTION OF EXECUTORY CONTRACT(S) OR UNEXPIRED LEASE(S)

        PLEASE TAKE NOTICE THAT on April 28, 2025 the United States Bankruptcy Court
for the Eastern District of Texas (the “Court”) entered an order [Docket No. 112] (the
“Sale Order”) that, among other things approved the sale of substantially all of the assets of the
above-captioned debtors (the “Debtors”) to Zhone Technologies, Inc., (“Zhone”), formerly known
as Fibre Acquisitions Corporation.

       PLEASE TAKE FURTHER NOTICE THAT the Trustee filed the Notices of Executory
Contracts and/or Unexpired Leases to be Assumed [ECF Nos. 47-66, 69] with the Court on April
14, 2025 and served such Notices on counter-parties to such Executory Contract(s) and/or
Unexpired Lease(s) (each a “Notice of Potentially Assumed Contract or Lease”).

      PLEASE TAKE FURTHER NOTICE THAT the Purchaser has elected to assume the
Executory Contract(s) and/or Unexpired Lease(s) to which you are a party listed on the attached
Exhibit 1 to this Notice.

        PLEASE TAKE FURTHER NOTICE THAT “cure” obligations included in the Notice
of Potentially Assumed Contract or Lease or as otherwise agreed to by the Purchaser and any other
party to such lease or contact (the “Cure Claim”) of any Executory Contract(s) or Unexpired
Lease(s) included in this Notice, shall be satisfied for the purposes of section 365(b)(1) of the
Bankruptcy Code, by payment in Cash, within ten (10) calendar days of this Notice or on such other
date as the parties to such Executory Contract(s) and/or Unexpired Lease(s) may otherwise agree.
Any Cure Claim shall be deemed fully satisfied, released, and discharged upon such payment. The
Purchaser may settle and pay any Cure Claim without any further notice to or action, order, or
approval of the Bankruptcy Court. The Trustee and Purchaser may adjourn consideration of any
cure dispute beyond the Sale Hearing.




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  The Debtors in these Chapter 7 Cases, along with the last four digits of each Debtor’s federal tax identification
number, are: DZS Inc. (9099); DZS Services Inc. (3763); and DZS California Inc. (3221) (each “Debtor” and
collectively the “Debtors”). The location of the Debtors’ service address for purposes of these Chapter 7 Cases is:
5700 Tennyson Parkway, Suite 400, Plano, TX 75024.



    5/9/2025 (2:14 PM) 5/9/2025 (2:14 PM) 126685.000001 4928-3915-0913.1 5/9/2025 (2:14 PM)
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       PLEASE TAKE FURTHER NOTICE THAT the Purchaser is responsible for payment
of any Cure Claims as defined in the Notice of Potentially Assumed Contract or Lease related to
your agreement.

      PLEASE TAKE FURTHER NOTICE THAT any objection to the assumption of an
Executory Contract or Unexpired Lease under the Plan was due no later than April 25, 2025.

       PLEASE TAKE FURTHER NOTICE THAT any request for payment of or objection
to a Cure Claim that differs from the cure amounts listed in the Notice of Potentially Assumed
Contract or Lease was also required to be Filed with the Bankruptcy Court no later than April 25,
2025.

        PLEASE TAKE FURTHER NOTICE THAT, pursuant to the Sale Order, any
counterparty to an Executory Contract or Unexpired Lease that failed to timely object to the
proposed assumption, assumption and assignment, or related Cure Claim is deemed to have
assented to such assumption and assignment and/or Cure Claim of such Executory Contract or
Unexpired Lease, as applicable, and any untimely objection shall be disallowed and forever barred,
estopped, and enjoined from assertion, and shall not be enforceable against the Purchaser, without
the need for any objection by the Purchaser or any other party in interest or any further notice to
or action, order, or approval of the Court. Such counterparties to such Executory Contract(s) or
Unexpired Lease(s) shall be deemed to release and waive, subject to such counterparties’ receipt
of the applicable Cure Claim, any and all rights arising under such Executory Contract(s) or
Unexpired Lease(s) related to any default, cross-default, termination, put right, or other similar
provision related to any event, default, or potential default on or occurring prior to the Closing
Date.

         PLEASE TAKE FURTHER NOTICE THAT assumption of any Executory Contract
and/or Unexpired Lease pursuant to the Sale Order shall result in the full release and satisfaction
of any claims or defaults, whether monetary or nonmonetary, including defaults of provisions
restricting the change in control or ownership interest composition or other bankruptcy-related
defaults, arising under any such Executory Contract or Unexpired Lease at any time on or before
the date that the Debtors assume or assume and assign such Executory Contract or Unexpired
Lease.

         PLEASE TAKE FURTHER NOTICE THAT neither the exclusion nor inclusion of any
Executory Contract or Unexpired Lease on Notice of Potentially Assumed Contract or Lease, shall
constitute an admission by the Debtors, the Trustee or Purchaser that any such contract or lease is
in fact an Executory Contract or Unexpired Lease, that any Debtor(s) has any liability thereunder,
or that such Executory Contract or Unexpired Lease is a binding and enforceable agreement. In
addition, the Trustee and Purchaser shall have the right to: (i) alter, amend, modify, or supplement
any information set forth herein, including to add or remove any Executory Contract or Unexpired
Lease from the Rejection List or Assumption List, pursuant to the terms of the Plan; and (ii) contest
any Claim asserted in connection with any Executory Contract or Unexpired Lease.

       Any questions regarding this Notice should be directed to John Higgins at 469-581-9204,
Email: john.higgins@zhone.com.




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 Dated: May 9, 2025.                         Respectfully submitted,

                                             DYKEMA GOSSETT PLLC

                                             By: By: /s/ Dominique A. Douglas
                                             Deborah D. Williamson
                                             Texas State Bar No. 21617500
                                             Dominique A. Douglas
                                             Texas State Bar No. 24134409
                                             DYKEMA GOSSETT PLLC
                                             112 E. Pecan St., Suite 1800
                                             San Antonio, Texas 78205
                                             Phone: 210-554-5275
                                             Email: dwilliamson@dykema.com
                                             Email: ddouglas@dykema.com

                                             ATTORNEYS FOR
                                             ZHONE TECHNOLOGIES, INC.
                                             FORMERLY KNOWN AS
                                             FIBRE ACQUISITION CORPORATION




                                 CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on May 9, 2025, a true and correct copy of the foregoing
was served by electronic means as listed on the Court’s ECF noticing system and first class mail to
necessary contract counterparties.

                                                      /s/ Dominique A. Douglas
                                                      Dominique A. Douglas




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                                                        Exhibit 1
                                                     Assumption List




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           DZS ID                     Counterparty Name        Description of Contract or Lease


2.0390                         INTERBEL TELEPHONE             SUBJECT: MONTANA 522
                               COOPERATIVE INC                INTERBEL


2.0391                         INTERCABLE SA DE CV            DISTRIBUTORSHIP AGREEMENT



2.0397                         TAMDEED PROJECTS LLC; SISALAT PURCHASE AGREEMENT FOR
                               SERVICES HOLDING LLC          PRODUCTS AND SERVICES


2.0411                         KANOKLA TELEPHONE              PURCHASE AGREEMENT FOR
                                                              PRODUCTS AND SERVICES


2.0422                         KINGSTON COMMUNICATIONS        PURCHASE AGREEMENT



2.0423                         KIT CARSON TELECOM             PURCHASE AGREEMENT



2.0434                         LIGHT RIVER TECHNOLOGIES INC   DZS INC. RESELLER AGREEMENT



2.0435                         LIGHT RIVER TECHNOLOGIES INC   RESELLER AGREEMENT



2.0436                         LIGHTRIVER TECHNOLOGIES INC    MUTUAL PRODUCT EVALUATION
                                                              AGREEMENT


2.0439                         LISCO LLC                      PURCHASE AGREEMENT



2.0441                         LOWVO COMPANY                  RESELLER AGREEMENT



2.0442                         LOWVO SOLUTIONS                RESELLER AGREEMENT



2.0448                         MANTI TELEPHONE CO.; MTCC      PURCHASE AGREEMENT FOR
                                                              PRODUCTS AND SERVICES
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2.0450                         MASSEY; WORLD WIDE          MUTUAL PRODUCT EVALUATION
                               TECHNOLOGY LLC              AGREEMENT


2.0451                         MATANUSKA TELEPHONE         PURCHASE AGREEMENT FOR
                               ASSOCIATION, INC.           PRODUCTS AND SERVICES


2.0452                         MAVENIR SYSTEMS INC         GLOBAL TEAMING AGREEMENT



2.0453                         MAVENIR SYSTEMS INC         HARDWARE OEM SUPPLY
                                                           AGREEMENT


2.0454                         MAVENIR SYSTEMS INC         MUTUAL PRODUCT EVALUATION
                                                           AGREEMENT


2.0455                         MAVENIR SYSTEMS INC         MUTUAL PRODUCT EVALUATION
                                                           AGREEMENT


2.0458                         MEGA HERTZ INC              CONTRACTUAL DOCUMENT



2.0459                         MEGA HERTZ INC              RESELLER AGREEMENT



2.0464                         MID-HUDSON CABLEVISION      MUTUAL PRODUCT EVALUATION
                                                           AGREEMENT


2.0471                         MOBIA TECHNOLOGY            DZS INC. RESELLER AGREEMENT
                               INNOVATIONS INCORPORATED


2.0480                         MTS ALLSTREAM INC           MASTER SUPPLY AGREEMENT



2.0481                         MTS ALLSTREAM INC           MASTER SUPPLY AGREEMENT



2.0484                         MULTICOM INC                AMENDMENT NO. 1 TO RESELLER
                                                           AGREEMENT


2.0485                         MULTICOM INC                RESELLER AGREEMENT
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2.0490                         MYAKKA COMMUNICATIONS, INC.    PURCHASE AGREEMENT FOR
                                                              PRODUCTS AND SERVICES


2.0507                         NEXTCOM PTY LTD                RESELLER AGREEMENT



2.0514                         NORMAN ENGINEERING             PURCHASE AGREEMENT FOR
                                                              PRODUCTS AND SERVICES


2.0516                         NORTH CENTRAL TELEPHONE        PURCHASE AGREEMENT FOR
                               COOPORATIVE (NCTC)             PRODUCTS AND SERVICES


2.0517                         NORTH STATE COMMUNICATIONS     PURCHASE AGREEMENT FOR
                                                              PRODUCTS AND SERVICES


2.0519                         NORTHWESTEL INC                PRODUCT PURCHASE
                                                              AGREEMENT


2.0520                         NORTHWESTEL INC                STATEMENT OF WORK



2.0521                         NORTHWESTEL INC; DASAN ZONE    AMENDMENT NO. ONE TO
                               SOLUTIONS INC                  PRODUCT PURCHASE
                                                              AGREEMENT

2.0522                         NORTHWESTEL INC; DASAN ZONE    AMENDMENT NO. ONE TO
                               SOLUTIONS INC                  PRODUCT PURCHASE
                                                              AGREEMENT

2.0523                         NORVADO, INC.                  PURCHASE AGREEMENT FOR
                                                              PRODUCTS AND SERVICES


2.0534                         OOREDOO MALDIVES PLC;          RESELLER AGREEMENT
                               RESELLER DER BO MALLIVES PLC


2.0539                         ORANGE FRANCE SA               MUTUAL PRODUCT EVALUATION
                                                              AGREEMENT


2.0540                         ORANGE INNOVATION              MUTUAL PRODUCT EVALUATION
                                                              AGREEMENT


2.0544                         ORANGE POLSKA SA; SLOBODAN     EVALUATION AGREEMENT
                               ZLATKOVIC
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2.0564                         PLANTERS COMMUNICATIONS      PURCHASE AGREEMENT FOR
                               LLC                          PRODUCTS AND SERVICES


2.0577                         PRODUCT SOURCE               ELITE RESELLER AGREEMENT
                               INTERNATIONAL DATACOMM


2.0578                         PRODUCT SOURCE               MUTUAL PRODUCT EVALUATION
                               INTERNATIONAL DATACOMM       AGREEMENT


2.0579                         PRODUCT SOURCE               AMENDMENT NO. 1 TO ELITE
                               INTERNATIONAL DATACOMM LLC   RESELLER AGREEMENT 30


2.0580                         PRODUCT SOURCE               AMENDMENT NO. 1 TO ELITE
                               INTERNATIONAL DATACOMM LLC   RESELLER AGREEMENT 30


2.0581                         PRODUCT SOURCE               AMENDMENT TO RESELLER
                               INTERNATIONAL DATACOMM LLC   AGREEMENT


2.0600                         QUATTRO TRADING AND          RESELLER AGREEMENT
                               DISTRIBUTION


2.0602                         RAFFLES SEYCHELLES LTD       PURCHASE AGREEMENT FOR
                                                            PRODUCTS AND SERVICES


2.0607                         REFLEX SOLUTIONS PTY LTD     RESELLER AGREEMENT



2.0615                         RURAL TELECOMMUNICATIONS     MUTUAL PRODUCT EVALUATION
                               OF AMERICA INC               AGREEMENT


2.0652                         SOMTEL SOMALIA LTD           PURCHASE AGREEMENT FOR
                                                            PRODUCTS AND SERVICES


2.0673                         STUART C IRBY CO             AMENDMENT #1 BETWEEN STUART
                                                            C IRBY CO. AND DZS INC.
                                                            AMENDMENT NO. 001

2.0674                         STUART C IRBY CO             AMENDMENT #1 BETWEEN STUART
                                                            C IRBY CO. AND DZS INC.
                                                            AMENDMENT NO. 001

2.0675                         STUART C IRBY CO             AMENDMENT OF RESELLER
                                                            AGREEMENT
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2.0676                         STUART C IRBY CO            AMENDMENT OF RESELLER
                                                           AGREEMENT


2.0677                         STUART C IRBY CO            AMENDMENT OF RESELLER
                                                           AGREEMENT


2.0678                         STUART C IRBY CO            AMENDMENT OF RESELLER
                                                           AGREEMENT


2.0679                         STUART C IRBY CO            MUTUAL PRODUCT EVALUATION
                                                           AGREEMENT


2.0680                         STUART C IRBY CO            RESELLER AGREEMENT



2.0690                         TACHUS FIBER INTERNET       MUTUAL PRODUCT EVALUATION
                                                           AGREEMENT


2.0691                         TACHUS LLC                  AMENDMENT #1 BETWEEN TACHUS,
                                                           LLC AND DZS INC.
                                                           AMENDMENT #1
